             Case 2:17-cv-00399-RSM Document 36 Filed 09/08/17 Page 1 of 13



 1                                                   THE HONORABLE RICARDO MARTINEZ
 2

 3

 4

 5

 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8

 9   KATHARYN KALMBACH, individually and )
     on behalf of all others similarly situated, )       Case No. 2:17-cv-00399-JPD
10                                               )
                     Plaintiff,                  )       DEFENDANT NATIONAL RIFLE
11                                               )       ASSOCIATION OF AMERICA’S
            v.                                   )       ANSWER TO COMPLAINT
12                                               )
     NATIONAL RIFLE ASSOCIATION OF               )
13   AMERICA, a New York Corporation, and        )
     INFOCISION, INC. d/b/a InfoCision           )
14   Management Corporation, a Delaware          )
     Corporation,                                )
15                                               )
                     Defendants.                 )
16

17

18          Defendant National Rifle Association of America (“NRA”), for its answer to plaintiff
19   Katharyn Kalmbach’s Complaint, states as follows:
20                                 I.    NATURE OF THE ACTION
21          1.     NRA admits the allegations in paragraph 1 of Kalmbach’s Complaint.
22          2.     NRA lacks knowledge or information sufficient to form a belief as to the truth or
23   falsity of the allegations in paragraph 2 of Kalmbach’s Complaint, and therefore denies them.
24          3.     NRA denies the allegations in paragraph 3 of Kalmbach’s Complaint.
25          4.     NRA denies the allegations in paragraph 4 of Kalmbach’s Complaint.
26

27

     DEFENDANT NATIONAL RIFLE                          -1-
     ASSOCIATION OF AMERICA’S ANSWER
                Case 2:17-cv-00399-RSM Document 36 Filed 09/08/17 Page 2 of 13



 1             5.    In response to paragraph 5 of Kalmbach’s Complaint, NRA admits that Kalmbach

 2   asserts claims under the WDNC, WADAD, WCPA, and for common-law invasion of privacy;

 3   denies that Kalmbach’s claims have merit; and denies the remaining allegations in paragraph 5.

 4             6.    In response to paragraph 6 of Kalmbach’s Complaint, NRA admits that Kalmbach

 5   seeks the relief identified in that paragraph; denies that she is entitled to such relief or any other

 6   relief; and denies the remaining allegations in paragraph 6.

 7                                II.     JURISDICTION AND VENUE

 8             7.    In response to paragraph 7 of Kalmbach’s Complaint, NRA states that paragraph

 9   7 contains a legal conclusion to which no response is required. To the extent a response is

10   required, NRA admits that the Western District of Washington has jurisdiction over this action.

11             8.    In response to paragraph 8 of Kalmbach’s Complaint, NRA states that paragraph

12   8 contains a legal conclusion to which no response is required. To the extent a response is

13   required, NRA admits that the U.S. District Court for the Western District of Washington has

14   jurisdiction over NRA; and denies the remaining allegations in paragraph 8.

15             9.    In response to paragraph 9 of Kalmbach’s Complaint, NRA states that paragraph

16   9 contains a legal conclusion to which no response is required. To the extent a response is

17   required, NRA admits that the Western District of Washington is an appropriate venue for this

18   action.

19             10.   NRA admits the allegations in paragraph 10 of Kalmbach’s Complaint with

20   respect to Kalmbach only. NRA lacks knowledge or information sufficient to form a belief as to

21   the truth or falsity of the remaining allegations in paragraph 10, and therefore denies them.

22                                           III.     PARTIES

23             11.   NRA lacks knowledge or information sufficient to form a belief as to the truth or

24   falsity of the allegations in paragraph 11 of Kalmbach’s Complaint, and therefore denies them.

25             12.   NRA admits that paragraph 13 of Kalmbach’s Complaint correctly identifies

26   NRA’s state of incorporation, its headquarters, and its registered agent. NRA also admits that it

27   is registered with the Washington Secretary of State under Unified Business Identifier number


     DEFENDANT NATIONAL RIFLE        -2-
     ASSOCIATION OF AMERICA’S ANSWER
              Case 2:17-cv-00399-RSM Document 36 Filed 09/08/17 Page 3 of 13



 1   601441332, and that it conducts advocacy and training, recruits members, and solicits donations

 2   in Washington, including in King County, and within the United States.

 3           13.    NRA lacks knowledge or information sufficient to form a belief as to the truth or

 4   falsity of the allegations in paragraph 13 of Kalmbach’s Complaint, and therefore denies them.

 5                          IV.     SERVICE ON ATTORNEY GENERAL

 6           14.    NRA lacks knowledge or information sufficient to form a belief as to the truth or

 7   falsity of the allegations in paragraph 14 of Kalmbach’s Complaint, and therefore denies them.

 8     V.     THE WASHINGTON AUTOMATIC DIALING AND ANNOUNCING DEVICE
                           STATUTE (WADAD), RCW 80.36.400
 9

10           15.    In response to paragraph 15 of Kalmbach’s Complaint, NRA: admits that R.C.W.

11   80.36.400 was enacted in 1986; states that the remaining allegations in paragraph 15 contain

12   legal conclusions to which no response is required; and states that R.C.W. 80.36.400 speaks for

13   itself. To the extent a response is required, NRA admits the remaining allegations in paragraph

14   15.

15           16.    In response to paragraph 16 of Kalmbach’s Complaint, NRA states that paragraph

16   16 contains legal conclusions to which no response is required. To the extent a response is

17   required, NRA admits the allegations in paragraph 16.

18           17.    In response to paragraph 17 of Kalmbach’s Complaint, NRA states that paragraph

19   17 contains legal conclusions to which no response is required. To the extent a response is

20   required, NRA admits the allegations in paragraph 17.

21     VI.     THE WASHINGTON DO NOT CALL (“WDNC”) STATUTE, RCW 80.36.390

22           18.    In response to paragraph 18 of Kalmbach’s Complaint, NRA admits that R.C.W.

23   80.36.390 was enacted in the same year as R.C.W. 80.36.400, and states that the remaining

24   allegations in paragraph 18 contain legal conclusions to which no response is required. NRA

25   further states that Kalmbach’s WDNC claim has been dismissed, and therefore denies the

26   allegations in paragraph 18.

27

     DEFENDANT NATIONAL RIFLE        -3-
     ASSOCIATION OF AMERICA’S ANSWER
             Case 2:17-cv-00399-RSM Document 36 Filed 09/08/17 Page 4 of 13



 1          19.     In response to paragraph 19 of Kalmbach’s Complaint, NRA states that paragraph

 2   19 contains legal conclusions to which no response is required.           NRA further states that

 3   Kalmbach’s WDNC claim has been dismissed, and therefore denies the allegations in paragraph

 4   19.

 5          20.     In response to paragraph 20 of Kalmbach’s Complaint, NRA states that paragraph

 6   20 contains legal conclusions to which no response is required.           NRA further states that

 7   Kalmbach’s WDNC claim has been dismissed, and therefore denies the allegations in paragraph

 8   20.

 9          21.     In response to paragraph 21 of Kalmbach’s Complaint, NRA states that paragraph

10   21 contains legal conclusions to which no response is required.           NRA further states that

11   Kalmbach’s WDNC claim has been dismissed, and therefore denies the allegations in paragraph

12   21.

13                               VII.     FACTUAL ALLEGATIONS

14          A.      General Factual Allegations

15          22.     In response to paragraph 22 of Kalmbach’s Complaint, NRA admits it is a

16   nonprofit membership organization under Internal Revenue Code § 501(c)(4) and focused on

17   firearms education, training, and advocacy.

18          23.     In response to paragraph 23 of Kalmbach’s Complaint, NRA admits that its sister

19   organization, the NRA Foundation, it is a nonprofit organization under Internal Revenue Code

20   § 501(c)(3) organized under the laws of the District of Columbia.

21          24.     In response to paragraph 24 of Kalmbach’s Complaint, NRA admits that

22   InfoCision placed calls on behalf of the NRA, but denies that the distinction drawn by paragraph

23   24 is material, and denies the remaining allegations in that paragraph.

24          25.     In response to paragraph 25 of Kalmbach’s Complaint, NRA states that the

25   document cited speaks for itself, and denies the remaining allegations in paragraph 25.

26          26.     NRA denies the allegations in paragraph 26 of Kalmbach’s Complaint.

27          27.     NRA denies the allegations in paragraph 27 of Kalmbach’s Complaint.


     DEFENDANT NATIONAL RIFLE        -4-
     ASSOCIATION OF AMERICA’S ANSWER
                Case 2:17-cv-00399-RSM Document 36 Filed 09/08/17 Page 5 of 13



 1          28.     In response to paragraph 28 of Kalmbach’s Complaint, NRA admits that, pursuant

 2   to a contract with the InfoCision, InfoCision places calls to current, former, and prospective

 3   NRA members and donors for the purpose of recruiting NRA members and soliciting donations.

 4   NRA denies that those calls solicit people to purchase products or services.           NRA lacks

 5   knowledge or information sufficient to form a belief as to the truth or falsity of the remaining

 6   allegations in paragraph 28, and therefore denies them.

 7          29.     In response to paragraph 29 of Kalmbach’s Complaint, NRA admits that the

 8   screenshot contained therein accurately represents the content of a prior iteration of NRA’s

 9   website; states that the website at the link provided in paragraph 29 speaks for itself; and denies

10   the remaining allegations in paragraph 29.

11          30.     In response to paragraph 30 of Kalmbach’s Complaint, NRA admits that it

12   receives funds from dues-paying memberships, contributions, and gifts, among other sources of

13   funding.

14          31.     NRA admits that the calls at issue in this case were placed to recruit NRA

15   members, but denies the remaining allegations in paragraph 31 of Kalmbach’s Complaint.

16          32.     In response to paragraph 32 of Kalmbach’s Complaint, NRA admits that the

17   screenshot contained therein accurately represents the content of a prior iteration of NRA’s

18   website; states that the website at the link provided in paragraph 32 speaks for itself; and denies

19   the remaining allegations in paragraph 32.

20          33.     In response to paragraph 33 of Kalmbach’s Complaint, NRA admits that the

21   membership benefits listed therein accurately represent the benefits made available to NRA

22   members at certain times prior to the date of this Answer; states that the website at the link

23   provided in paragraph 33 speaks for itself; and denies the remaining allegations in paragraph 33.

24          34.     NRA denies the allegations in paragraph 34 of Kalmbach’s Complaint.

25          35.     NRA denies the allegations in paragraph 35 of Kalmbach’s Complaint.

26          36.     NRA denies the allegations in paragraph 36 of Kalmbach’s Complaint.

27

     DEFENDANT NATIONAL RIFLE        -5-
     ASSOCIATION OF AMERICA’S ANSWER
             Case 2:17-cv-00399-RSM Document 36 Filed 09/08/17 Page 6 of 13



 1          37.     In response to paragraph 37 of Kalmbach’s Complaint, NRA admits that the

 2   screenshot contained therein accurately represents the content of a prior iteration of NRA’s

 3   website; admits the website at the link provided in paragraph 37 states as follows:

 4   “Contributions, gifts or membership dues made or paid to the National Rifle Association of

 5   America are not refundable or transferable and are not deductible as charitable contributions for

 6   Federal income tax purposes”; states that the website speaks for itself; and denies the remaining

 7   allegations in paragraph 37.

 8          38.     NRA lacks knowledge or information sufficient to form a belief as to the truth or

 9   falsity of the allegations in paragraph 38 of Kalmbach’s Complaint, and therefore denies them.

10          39.     NRA lacks knowledge or information sufficient to form a belief as to the truth or

11   falsity of the allegations in paragraph 39 of Kalmbach’s Complaint, and therefore denies them.

12          40.     NRA denies the allegations in paragraph 40 of Kalmbach’s Complaint.

13          41.     NRA lacks knowledge or information sufficient to form a belief as to the truth or

14   falsity of the allegations in paragraph 41 of Kalmbach’s Complaint, and therefore denies them.

15          42.     NRA admits that InfoCision placed calls to Plaintiff in July 2016, but denies that

16   it makes calls as alleged in paragraph 42 of Kalmbach’s Complaint, and therefore denies the

17   remaining allegations in that paragraph.

18          43.     NRA lacks knowledge or information sufficient to form a belief as to the truth or

19   falsity of the allegations in paragraph 43 of Kalmbach’s Complaint, and therefore denies them.

20          44.     In response to paragraph 44 of Kalmbach’s Complaint, NRA lacks knowledge or

21   information sufficient to form a belief as to the truth or falsity of Kalmbach’s allegation that her

22   “attempts to reach a live agent were unsuccessful through the calls she was receiving,” and

23   therefore denies that allegation. NRA denies the remaining allegations in paragraph 44.

24          45.     NRA denies the allegations in paragraph 45 of Kalmbach’s Complaint.

25          46.     NRA denies the allegations in paragraph 46 of Kalmbach’s Complaint.

26          47.     NRA admits the allegations in paragraph 47 of Kalmbach’s Complaint.

27          48.     NRA denies the allegations in paragraph 48 of Kalmbach’s Complaint.


     DEFENDANT NATIONAL RIFLE        -6-
     ASSOCIATION OF AMERICA’S ANSWER
              Case 2:17-cv-00399-RSM Document 36 Filed 09/08/17 Page 7 of 13



 1          49.     In response to paragraph 49 of Kalmbach’s Complaint, NRA admits that

 2   Kalmbach asserts claims under the WDNC, WADAD, and WCPA; states that Kalmbach’s

 3   WDNC claim has been dismissed, and therefore no response is required as to that claim; denies

 4   that Kalmbach’s claims have merit; and denies the remaining allegations in paragraph 49.

 5          50.     In response to paragraph 50 of Kalmbach’s Complaint, NRA admits that

 6   Kalmbach seeks to represent a putative class or classes; admits that Kalmbach seeks the relief

 7   identified in paragraph 50; denies that the putative classes exist or are capable of being certified;

 8   denies that Kalmbach is entitled to the relief requested in her Complaint or any other relief; and

 9   denies the remaining allegations in paragraph 50.

10                           VIII.     CLASS ACTION ALLEGATIONS

11          51.     In response to paragraph 51 of Kalmbach’s Complaint, NRA admits that

12   Kalmbach seeks to represent a putative class or classes; denies that the putative classes exist or

13   are capable of being certified; and denies the remaining allegations in paragraph 51.

14          52.     In response to paragraph 52 of Kalmbach’s Complaint, NRA admits that

15   Kalmbach seeks to represent a putative class or classes; denies that the putative classes exist or

16   are capable of being certified; and denies the remaining allegations in paragraph 52.

17          53.     In response to paragraph 53 of Kalmbach’s Complaint, NRA admits that

18   Kalmbach seeks to represent a putative class or classes; admits that, to the extent any class is

19   certified, the individuals identified in paragraph 53 should be excluded from the definition of

20   such class or classes; denies that the putative classes exist or are capable of being certified; and

21   denies the remaining allegations in paragraph 53.

22          54.     NRA denies the allegations in paragraph 54 of Kalmbach’s Complaint.

23          55.     NRA denies the allegations in paragraph 55 of Kalmbach’s Complaint.

24          56.     NRA lacks knowledge or information sufficient to form a belief as to the truth or

25   falsity of the allegations in paragraph 56 of Kalmbach’s Complaint, and therefore denies them.

26

27

     DEFENDANT NATIONAL RIFLE        -7-
     ASSOCIATION OF AMERICA’S ANSWER
              Case 2:17-cv-00399-RSM Document 36 Filed 09/08/17 Page 8 of 13



 1           57.     In response to paragraph 57 of Kalmbach’s Complaint, NRA states that

 2   Kalmbach’s WDNC claim has been dismissed, and therefore no response is required, and denies

 3   the remaining allegations in paragraph 57, including all subparts.

 4           58.     NRA denies the allegations in paragraph 58 of Kalmbach’s Complaint.

 5                                   FIRST CLAIM FOR RELIEF
                   Washington Automatic Dialing and Announcing Device Statute
 6
                                 (Violations of RCW 80.36.400 et seq.)
 7            (On Behalf of Plaintiff and the Washington State Pre-Recorded Call Class)

 8           59.     NRA restates and incorporates by reference all of the preceding responses as if
 9   fully stated here.
10
             60.     NRA denies the allegations in paragraph 60 of Kalmbach’s Complaint.
11
             61.     In response to paragraph 61 of Kalmbach’s Complaint, NRA admits that
12
     InfoCision placed telephone calls to phone numbers with Washington area codes; lacks
13

14   knowledge or information sufficient to perform a belief as to whether such calls were received

15   within the State of Washington; and denies the remaining allegations in paragraph 61.

16           62.     NRA denies the allegations in paragraph 62 of Kalmbach’s Complaint.
17           63.     NRA denies the allegations in paragraph 63 of Kalmbach’s Complaint.
18
                                    SECOND CLAIM FOR RELIEF
19                                   Washington Do Not Call Statute
                                  (Violations of RCW 80.36.390 et seq.)
20                 (On Behalf of Plaintiff and the Washington State Do Not Call Class)
21           64.     NRA restates and incorporates by reference all of the preceding responses as if
22
     fully stated here.
23
             65.     In response to paragraph 65 of Kalmbach’s Complaint, NRA states that
24
     Kalmbach’s WDNC claim has been dismissed, and therefore no response is required. To the
25

26   extent a response is required, NRA denies the allegations in paragraph 65 of Kalmbach’s

27   Complaint.


     DEFENDANT NATIONAL RIFLE        -8-
     ASSOCIATION OF AMERICA’S ANSWER
              Case 2:17-cv-00399-RSM Document 36 Filed 09/08/17 Page 9 of 13



 1           66.     In response to paragraph 66 of Kalmbach’s Complaint, NRA states that

 2   Kalmbach’s WDNC claim has been dismissed, and therefore no response is required. To the

 3   extent a response is required, NRA denies the allegations in paragraph 66 of Kalmbach’s

 4   Complaint.

 5           67.     In response to paragraph 67 of Kalmbach’s Complaint, NRA states that

 6   Kalmbach’s WDNC claim has been dismissed, and therefore no response is required. To the

 7   extent a response is required, NRA denies the allegations in paragraph 67 of Kalmbach’s

 8   Complaint.

 9           68.     In response to paragraph 68 of Kalmbach’s Complaint, NRA states that

10   Kalmbach’s WDNC claim has been dismissed, and therefore no response is required. To the

11   extent a response is required, NRA denies the allegations in paragraph 68 of Kalmbach’s

12   Complaint.
                                    THIRD CLAIM FOR RELIEF
13                              Washington Consumer Protection Act
14                                 (Violation of RCW 19.86 et seq.)
              (On Behalf of Plaintiff and the Washington State Pre-recorded Call Class)
15

16           69.     NRA restates and incorporates by reference all of the preceding responses as if

17   fully stated here.

18           70.     NRA denies the allegations in paragraph 70 of Kalmbach’s Complaint.

19           71.     NRA denies the allegations in paragraph 71 of Kalmbach’s Complaint.

20           72.     NRA denies the allegations in paragraph 72 of Kalmbach’s Complaint.

21           73.     NRA denies the allegations in paragraph 73 of Kalmbach’s Complaint.

22                                  FOURTH CLAIM FOR RELIEF

23                    (Invasion of Privacy by Intrusion under Washington Law)
                (On Behalf of Plaintiff and the Washington State Unsolicited Call Class)
24

25           74.     NRA restates and incorporates by reference all of the preceding responses as if
26   fully stated here.
27           75.     NRA denies the allegations in paragraph 75 of Kalmbach’s Complaint.

     DEFENDANT NATIONAL RIFLE        -9-
     ASSOCIATION OF AMERICA’S ANSWER
             Case 2:17-cv-00399-RSM Document 36 Filed 09/08/17 Page 10 of 13



 1          76.     NRA denies the allegations in paragraph 76 of Kalmbach’s Complaint.

 2                                   IX.     PRAYER FOR RELIEF

 3          77.     In response to paragraph 1 of the Prayer for Relief in Kalmbach’s Complaint,

 4   NRA denies that Kalmbach is entitled to the requested relief or any other relief.

 5          78.     In response to paragraph 2 of the Prayer for Relief in Kalmbach’s Complaint,

 6   NRA denies that Kalmbach is entitled to the requested relief or any other relief.

 7          79.     In response to paragraph 3 of the Prayer for Relief in Kalmbach’s Complaint,

 8   NRA denies that Kalmbach is entitled to the requested relief or any other relief.

 9          80.     In response to paragraph 4 of the Prayer for Relief in Kalmbach’s Complaint,

10   NRA denies that Kalmbach is entitled to the requested relief or any other relief.

11          81.     In response to paragraph 5 of the Prayer for Relief in Kalmbach’s Complaint,

12   NRA denies that Kalmbach is entitled to the requested relief or any other relief.

13          82.     In response to paragraph 6 of the Prayer for Relief in Kalmbach’s Complaint,

14   NRA denies that Kalmbach is entitled to the requested relief or any other relief.

15          83.     In response to paragraph 7 of the Prayer for Relief in Kalmbach’s Complaint,

16   NRA denies that Kalmbach is entitled to the requested relief or any other relief.

17          84.     In response to paragraph 8 of the Prayer for Relief in Kalmbach’s Complaint,

18   NRA denies that Kalmbach is entitled to the requested relief or any other relief.

19          85.     In response to paragraph 9 of the Prayer for Relief in Kalmbach’s Complaint,

20   NRA denies that Kalmbach is entitled to the requested relief or any other relief.

21          86.     In response to paragraph 10 of the Prayer for Relief in Kalmbach’s Complaint,

22   NRA denies that Kalmbach is entitled to the requested relief or any other relief.

23          87.     In response to paragraph 11 of the Prayer for Relief in Kalmbach’s Complaint,

24   NRA denies that Kalmbach is entitled to the requested relief or any other relief.

25          88.     In response to paragraph 12 of the Prayer for Relief in Kalmbach’s Complaint,

26   NRA denies that Kalmbach is entitled to the requested relief or any other relief.

27

     DEFENDANT NATIONAL RIFLE        -10-
     ASSOCIATION OF AMERICA’S ANSWER
             Case 2:17-cv-00399-RSM Document 36 Filed 09/08/17 Page 11 of 13



 1          89.        In response to paragraph 13 of the Prayer for Relief in Kalmbach’s Complaint,

 2   NRA denies that Kalmbach is entitled to the requested relief or any other relief.

 3          90.        In response to paragraph 14 of the Prayer for Relief in Kalmbach’s Complaint,

 4   NRA denies that Kalmbach is entitled to the requested relief or any other relief.

 5                                           GENERAL DENIAL

 6          91.        NRA denies each and every allegation in Kalmbach’s Complaint not specifically

 7   admitted herein, including, but not limited to, Kalmbach’s prayers for relief. With respect to the

 8   unnumbered introductory paragraph on pages one and two of Kalmbach’s Complaint, NRA

 9   states that the allegations therein do not comply with Fed. R. Civ. P. 10(b)’s requirement that

10   claims be stated “in numbered paragraphs, each limited as far as practicable to a single set of

11   circumstances,” and thus those allegations require no response. To the extent a response is

12   required, NRA denies those allegations.

13                                         SEPARATE DEFENSES

14          1.         Kalmbach’s claims are barred because the Complaint fails to state a claim upon

15   which relief can be granted.

16          2.         Kalmbach’s claims are barred because she has not suffered any injury as a result

17   of or traceable to the conduct alleged in the Complaint, and thus lacks standing.

18          3.         Kalmbach’s claims are barred by the Dormant Commerce Clause of the United

19   States Constitution.

20          4.         Kalmbach’s claims are barred by the doctrine of consent.

21          5.         Kalmbach’s claims are barred by the doctrine of assumption of risk.

22          6.         Kalmbach’s claims are barred by the doctrines of waiver, estoppel, and/or laches.

23          7.         NRA reserves the right to assert additional defenses should it become necessary

24   or appropriate.

25          WHEREFORE, NRA respectfully requests that the Court (1) dismiss Kalmbach’s

26   Complaint with prejudice; and (2) award NRA its full costs and fees, including attorneys’ fees,

27   incurred in defense of this matter.


     DEFENDANT NATIONAL RIFLE        -11-
     ASSOCIATION OF AMERICA’S ANSWER
            Case 2:17-cv-00399-RSM Document 36 Filed 09/08/17 Page 12 of 13



 1   DATED this 8th day of September, 2017.
 2                                            Respectfully submitted,
 3                                            BAKER & HOSTETLER LLP
 4
                                              s/Curt Roy Hineline
 5
                                              Curt Roy Hineline, WSBA #16317
 6                                            James R. Morrison, WSBA #43043
                                              999 Third Avenue, Suite 3600
 7                                            Seattle, WA 98104-4040
                                              Tel: (206) 332-1380
 8                                            Fax: (206) 624-7317
                                              E-mail: chineline@bakerlaw.com
 9
                                                       jmorrison@bakerlaw.com
10
                                              Terry M. Brennan (admitted pro hac vice)
11                                            Michael D. Meuti (admitted pro hac vice)
                                              127 Public Square, Suite 2000
12                                            Cleveland, OH 44114
                                              Tel: (216) 621-0200
13
                                              Fax: (216) 696-0740
14                                            E-mail: tbrennan@bakerlaw.com
                                                      mmeuti@bakerlaw.com
15
                                              Attorneys for Defendants National Rifle
16                                            Association of America and InfoCision, Inc.
17

18

19

20

21

22

23

24

25

26

27

     DEFENDANT NATIONAL RIFLE        -12-
     ASSOCIATION OF AMERICA’S ANSWER
            Case 2:17-cv-00399-RSM Document 36 Filed 09/08/17 Page 13 of 13



 1                                 CERTIFICATE OF SERVICE

 2          I hereby certify that on September 8, 2017, a true and authentic copy of the foregoing

 3   Defendant National Association of America’s Answer to Complaint was submitted to the Clerk

 4   of the Court using the CM/ECF system, which will send a notice of electronic filing to the

 5   following:

 6   Kim D. Stephens                                     Steven L. Woodrow
     Chase Christian Alvord                              Patrick H. Peluso
 7
     Tousley Brain Stephens PLLC                         Woodrow & Peluso, LLC
 8   1700 7th Avenue, Suite 2200                         3900 E. Mexico Avenue, Suite 300
     Seattle, WA 98101-4416                              Denver, CO 80210
 9   Tel: (206) 667-0249                                 Tel: (720) 213-0675
     Fax: (206) 682-2992                                 Fax: (303) 927-0809
10   kstephens@tousley.com                               swoodrow@woodrowpeluso.com
     calvord@tousley.com                                 ppeluso@woodrowpeluso.com
11

12   Stefan Coleman
     Adam T. Savett
13   Law Offices of Stefan Coleman, P.S.
     201 S. Biscayne Blvd., 28th Floor
14   Miami, FL 33131
15   Tel: (877) 333-9427
     Fax: (888) 498-8946
16   law@stefancoleman.com
     adam@stefancoleman.com
17
     Attorneys for Plaintiff Katharyn Kalmbach
18

19                                                    s/Serita Smith
                                                      Serita Smith
20                                                    Assistant to Curt Roy Hineline
21

22

23

24

25

26

27

     DEFENDANT NATIONAL RIFLE        -13-
     ASSOCIATION OF AMERICA’S ANSWER
